   Case: 1:20-cr-00077-TSB Doc #: 48 Filed: 08/18/20 Page: 1 of 4 PAGEID #: 1366

                                  United States District Court
                                   Southern District of Ohio
                                    __________________

                                 Related Case Memorandum
                                         Civil Cases

                Chief Judge Marbley, Judge Watson, Judge Sargus, Judge Black,
 TO:            Magistrate Judge Vascura, Magistrate Judge Jolson

 FROM:          Eric Weitz      Deputy Clerk

 DATE:          8/6/2020

 SUBJECT:       Case Caption:   Hudock et al v. FirstEnergy Corp. et al

 CASES:         Case Number:    2:20-cv-3954

                 Judges:        Judge Watson / Magistrate Judge Vascura

                                File Date:     8/5/2020

                Case Caption:   Buldas v. FirstEnergy Corp., et al

                Case Number:    2:20-cv-3987

                 Judges:        Judge Watson / Magistrate Judge Jolson

                                File Date:     7/31/2020


This memorandum is to notify you that following cases are possibly related:

 Related Case
 Case Caption:      USA v. Householder et al
 Case Number:       1:20-cr-77                            District Judge:     Black
 File Date:         7/30/2020                             Magistrate Judge:

 Related Case
 Case Caption:      Owens v. FirstEnergy Corp. et al
 Case Number:       2:20-cv-3785                     District Judge:          Marbley
 File Date:         7/28/2020                        Magistrate Judge:        Jolson

 Related Case
 Case Caption:      Smith v. FirstEnergy Corp. et al
 Case Number:       2:20-cv-3755                     District Judge:          Sargus
 File Date:         7/27/2020                        Magistrate Judge:        Jolson
  Case: 1:20-cr-00077-TSB Doc #: 48 Filed: 08/18/20 Page: 2 of 4 PAGEID #: 1367

Memo Re: Related Civil Cases
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 The District Judges having conferred. We respond to Case Administrator Eric Weitz
 as follows:


 Judges’ Response:

       ☐ We agree that the cases are not related and that the subject case should remain
         with the Judge to whom it is assigned.

       ☐ We agree that the cases are related and that the subject case should be
         transferred to the docket of Judge _______________________.

       ☐ We agree that although the cases are related, the subject case nevertheless
         should remain with the Judge to whom it was assigned.

       ☐ We are unable to agree and will accept any decision made by the Chief Judge.

       ☐ I am the Judge on both/all of the listed cases and have determined that the cases
         related.

       ☐ I am the Judge on both/all of the listed cases and have determined that the cases,
         and they shall both/all remain on my docket.

       ☒ Other Direction of Judge:

            2:20-CV-3875 Owens v. FirstEnergy Corp, et al - Chief Judge Marbley
            will keep this case.
            All other cases are related and should be transferred to the docket of
            Judge Sargus.




                                           United States District Judge


                                           United States District Judge


                                           United States District Judge


                                           United States District Judge
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 The District Judges having conferred. We respond to Case Administrator Eric Weitz
 as follows:


 Judges’ Response:

       ☐ We agree that the cases are not related and that the subject case should remain
         with the Judge to whom it is assigned.

       ☐ We agree that the cases are related and that the subject case should be
         transferred to the docket of Judge _______________________.

       ☐ We agree that although the cases are related, the subject case nevertheless
         should remain with the Judge to whom it was assigned.

       ☐ We are unable to agree and will accept any decision made by the Chief Judge.

       ☐ I am the Judge on both/all of the listed cases and have determined that the cases
         related.

       ☐ I am the Judge on both/all of the listed cases and have determined that the cases,
         and they shall both/all remain on my docket.

       ☒ Other Direction of Judge:

            2:20-CV-3875 Owens v. FirstEnergy Corp, et al - Chief Judge Marbley
            will keep this case.
            All other cases are related and should be transferred to the docket of
            Judge Sargus.




                                           United States District Judge

                                              s/Michael H. Watson
                                           United States District Judge


                                           United States District Judge


                                           United States District Judge
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 The District Judges having conferred. We respond to Case Administrator Eric Weitz
 as follows:


 Judges’ Response:

       ☐ We agree that the cases are not related and that the subject case should remain
         with the Judge to whom it is assigned.

       ☐ We agree that the cases are related and that the subject case should be
         transferred to the docket of Judge _______________________.

       ☐ We agree that although the cases are related, the subject case nevertheless
         should remain with the Judge to whom it was assigned.

       ☐ We are unable to agree and will accept any decision made by the Chief Judge.

       ☐ I am the Judge on both/all of the listed cases and have determined that the cases
         related.

       ☐ I am the Judge on both/all of the listed cases and have determined that the cases,
         and they shall both/all remain on my docket.

       ☒ Other Direction of Judge:

            2:20-CV-3875 Owens v. FirstEnergy Corp, et al - Chief Judge Marbley
            will keep this case.
            All other cases are related and should be transferred to the docket of
            Judge Sargus.




                                           United States District Judge
                                               s/Edmund A. Sargus, Jr.
                                           United States District Judge


                                           United States District Judge


                                           United States District Judge
